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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLUMBIA


     DISTRICT OF COLUMBIA

                    Plaintiff,
                                                      Civil Action No. 20-1932 (TJK)
             v.

     EXXON MOBIL CORP., et al.

                    Defendants.




                        PLAINTIFF DISTRICT OF COLUMBIA’S
                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff District of Columbia hereby notifies the Court of supplemental authority with

respect to its Motion to Remand (Dkt. 46). See City of Hoboken v. Chevron Corp., No. 21-2728,

__ F.4th__, 2022 WL 3440653 (3d Cir. Aug. 17, 2022) (Ex. A). In City of Hoboken, the Third

Circuit affirmed orders granting motions to remand two climate-related cases brought in state court

by the City of Hoboken, New Jersey, and the State of Delaware. The court joined the First, Fourth,

Ninth, and Tenth Circuits in holding that four of the removal theories Defendants raise here are

meritless.

       “Governing” Federal Common Law: The Third Circuit held the plaintiffs’ state-law

claims for nuisance, trespass, negligence, and statutory consumer protection did not arise under

federal common law. It stated that “once in a great while” federal courts may “recharacterize a

state law claim as a federal claim removable to federal court,” but “only when some federal statute

completely preempts state law.” 2022 WL 3440653 at *2. The court noted, however, that

“complete preemption is rare,” and “[f]ederal law completely preempts state law only when there


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is (1) a federal statute that (2) authorizes federal claims vindicating the same interest as the state

claim.” Id. “Unsurprisingly,” the court held, “the companies cannot cite an applicable statute that

passes this test.” Id. The court rejected the “new form of complete preemption” the defendants

suggested “that relies not on statutes but federal common law,” and reiterated that the “test for

complete preemption is the only basis for recharacterizing a state law claim as a federal claim

removable to federal court.” Id. at *3 (cleaned up).

       Grable: The court held the complaints did not necessarily raise substantial questions of

federal law either. The court stated that the defendants “rehash[ed] their common-law preemption

argument” to identify a necessary federal issue, which was “the same wolf in a different sheep’s

clothing” as the defendants’ federal common law complete preemption theory. Id at 4. That was

so because “[t]he federal issue that the oil companies identify is whether federal common law

governs these claims,” but the court had already held “there is no complete preemption here” and

“ordinary preemption is a defense.” Id. That could not support removal because “[d]efenses are

not the kinds of substantial federal questions that support federal jurisdiction.” Id. The court

likewise held that the “First Amendment problems” raised by the defendants likewise did not

present a necessary federal issue, because “though the First Amendment limits state laws that touch

speech, those limits do not extend federal jurisdiction to every such claim,” and “[s]tate courts

routinely hear libel, slander, and misrepresentation cases involving matters of public concern.” Id.

       OCSLA: The court held it lacked jurisdiction under the Outer Continental Shelf Lands

Act. It held that the statute only extends jurisdiction to cases where a plaintiff’s claims “target

actions on or closely connected to the Shelf,” id. at *7. Based on that reading, the court held that

the plaintiffs’ state law tort and consumer protection claims were “all too far away from Shelf oil

production” to confer jurisdiction. Id. at *7.




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       Federal Officer Removal: Finally, the court held the defendants’ relationships with the

federal government, including leasing outer Continental Shelf lands for oil production,

management of the Elk Hills Petroleum Reserve, operations with the government during World

War II, and sales of specialty fuels to the military, were either “compli[ance] with run-of-the-mill

regulations” that were “not enough for federal jurisdiction,” or subject to disclaimers in the

plaintiffs’ complaints. Id. at *7–8.

                                                 Respectfully Submitted,

        Dated: August 24, 2022                    KARL A. RACINE
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